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                      EXHIBIT C
� Amazon Complaint for Alleged Patent Infringement of U.S. Patent No. 11,930,789 Complaint ID:
            Case 1:25-cv-00200-MAD-ML Document 1-3 Filed 02/10/25 Page 2 of 2
� 16509328131 ASIN: B0DB9Q5GDJ Our File: P00190HHF
              o Frank Compagni                                                                           Saturday, December 28, 2024 at 12:49 PM
•
              To:     O info@devora.us;          Cc:    O Frank Compagni            �

                IL) P00190HHF - De,Vor...              v

                � 231.8 KB

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Dear Ms. LoFranco,

We have made several attempts to send you the attached letter. Please note that we are in the process of preparing a federal complaint
against you for failure to respond to our requests and the damages you have caused our client. We strongly encourage you to promptly reply
to this email in order to avoid the federal complaint being filed and served against you.

Best regards,

                                 Frank W. Compagni
                                 I Registered Patent Attorney I

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